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UNITED STATES BANKRUPTCY C()URT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
IN RE:
ANTHONY WAYNE STANSBERRY, Case No:
iENNIFER LYNN STANSBERRY,
Debtors. / Chapter 13
CHAPTER 13 PLAN

CHECK ()NE:

X Tiie Debtorl certifies that the Pian does not deviate from the model plan adopted by
the Court at the time of the iiing of this case. Any nonconforming provisions are deemed stricken

The Pian contains provisions that are specific to this Plan in Additional Provisions
paragraph S§e) beiovv. Any nonconforming provisions not set forth in paragraph S(e) are deemed
stricken

 

1. MONTHLY PLAN PAYM.ENTS: Pian payments include the Trnstee's fee of IO% and shall
begin thirty (30) days from filing/conversion date. The Debtor shaii make payments to the Trustee
for the period of sixty (60)

months in the event the Trustee does riot retain the fuli 10%, any portion not retained Will be paid
to unsecured creditors pro rata under the plan:

A. $3,584.00 for months one through sixty (60);
in order to pay the foliovving creditors:

2. ADMINISTRAT§VE ATTGRNEY FEE: $3 125.()0 _ '{`OTAL PAEB 33 125.09

 

 

Balance Due SQ_.Q_Q_ Payable Through Plan $0.00 Monthly
3., PRIORITY CLAIMS [as defined in 11 U.S.C, §50’7]:
Narne of Creditor 'L`otal Claim

None

 

 

4. TRUSTEE FEES: Trustee shall receive a fee from each payment received, the

 

1 Ai§ references to “Dei)tor” include and refer to both of the debtors in a ease friedjoin.tiy by two individuals

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percentage of v~/hicliL is fixed periodically by the United States Trustee.
S. SECUREI) CLAIMS:

Pre~Contirrnation payments allocated to secured creditors under the Plan, other than amounts
allocated to cure arrearages, shall he deemed adequate protection payments To the extent the Debtor
makes such pre-confirmation payments, secured creditors Who have fried proofs of claim prior to
the ciairns bar date or vvithin 14 days from the date of an order converting or dismissing this case,
Whichever date is earlier, shall have an administrative lien on such payment(s), pro rata With other
secured creditors, subject to objection by the Debtor or Trustee.

(A) Clainis Secured by Real Property Which })ehtor Intends to Retain/ Mortgage
Payments and Arrears, lf Any, Paid through the Plan: If the Plan provides for the curing of
prepetition arrearages on a mortgage, the Debtor wiii pay, in addition to all other sums due under
the proposed Plan, ali regular monthly post~petition mortgage payments to the 'i`rustee as part oftlne
Plan. These mortgage payments, Which may be adjusted up or down as provided for under the loan
documents, are due beginning the first due date after the case is filed and continuing each month
thereaftero The 'l`rustee shall pay the post-petition mortgage payments on the following mortgage
claims:

 

Name of Creditor Collaterai Regular Monthfy Prnt. Arrearages (ii` any)
Seiect Portfolio ( lst mtgl Homestead $2,601.00 15.000.00
Grand Hamnton HOA liomestead 0.00 9,000.00

 

 

(B) Claims Secured by Real Property/Debtor Intends to Seek Mortgage Modification:
Pending the resoiution of a mortgage modification request, the Debtor shall make the following
adequate protection payments to the 'I`rustee, calculated at 31% of the Debtor’s gross monthly
income Absent further order of this Court, the automatic stay shall terminate effective 6 months
after the filing of the Debtor’s bankruptcy petition:

Name of Creditor Coliateral Payment Amt (at 31%)

None

 

 

(C) Liens to be Avoided/Stripped:

 

Name of Creditor Collaterai Estimated Amount
Asset Accer)tance Hornestead l&()91.50
CACH. LLC. Homestead 4.6'73.78

 

Ford Motor Credit Hornestead 26_000.€)0

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Portfofio Recoverv Associate Hornestead 5.514.05
Select Portfolio (2“°‘ Mortgagel Homestead 132.085.46

(D) Claims Secul'ed by Real Property or Personal Property to Which Section 506
Vaiuation APPLIES: Pursuant to l l U.S.C. § l322(b)(2), this provision does not apply to a claim
secured solely by the Debtor’s principal residence The Secured portion of the ciaim, estimated
below, and to be determined in connection With a motion to determine secured status, shall be paid
as follows:

Creditor Coliateral Value Payment Interest@ %

l\lone

 

 

(E) Ciainis Secured by Real Property and/or Personal Property to Whieh Section
506 Vaiuation DOES NOT APPLY: Claims of the following secured creditors shall be paid in
full with interest at the rate set forth below as follows

Creditor Collaterai Balance Payment Interest @ %

l\lone

 

 

(F) Claims Secured by Personal PropertyfRegular Payrnents and Arrearages, if any,
Paid in Pian:

Name of Creditor Coilaterai Reguiar Payment Arrearages

None

 

 

(G) Secured Ciaims/Lease Claims Paid Direct by the Dei)tor: The following secured
claims/lease claims are to be paid direct to the creditor or lessor by the Debtor outside the Pian. The
automatic stay and any codebtor stay are terminated fn rem as to these creditors and lessors upon
the filing of this Plan. Nothing herein is intended to terminate or abrogate the Debtor’s state law
contract rights. The Plan must provide for the assumption of lease claims in the Lease/Executory
Contract section below.

 

Name oi` Creditor Property/Coliaterai
Doua Belden ( paid by mortgage holderl Homestead
Santander Consumer USA 12 Jeep Libertv

 

Westlake Financial 06 l\/lercedes CLSSS()

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Grand Hamnton HOA Hornestead

(H) Secured CIaims/Lease Claims Not Provided for Under the Plan: 'l`he following
secured claims/leased claims are not provided for under the Plan. As such the automatic stay and
any codebtor stay do not apply and the Debtor’s liability to the creditor is NO'l` DISCHARGED
under the Plan. Nothing herein is intended to abrogate the Debtor’s state law contract rights.

Name of Creditor Property/Collaterai

None

 

 

(I) Surrender of CoIlateral/Leased Property: i)ebtor Will surrender the following
collateral/leased property no later than thirty (3 0) days from the filing of the petition unless specified
otherwise in the Plan. 'l`he automatic stay and any codebtor stay are terminated in rem as to these
creditors and lessors upon the filing of this Plan. The Plan must provide for the rejection of lease
claims in the Lease/Executory Contract section below.

 

 

 

Name of Creditor Property/Coliateral to be
Surrendered
Doug Belden 201 13 Fair Hill Wav
Grand Harnpton Communitv 20113 F air Hill Wav
Green Tree 20113 Fair Hill Wav
Nationstar l\/iortttageq LLC 201 13 Fair Hill Wav

 

6. LEASES/EXECUTORY CONTRACTS:
Name of Creditor Property Assume/Re§ect-Surrender Estimated Arrears

AT&'I` None Assurne 0.00

 

 

7. GENERAL UNSECURED CREDITORS: General unsecured creditors with allowed claims
shall receive a pro rata share of the balance of any funds remaining after payments to the above
referenced creditors or shall otherwise be paid pursuant to the provisions of a subsequent Order
Coniirming Plan. Tlie estimated dividend to unsecured creditors is $12 820.00.

 

8. ADDITIONAL PROVISIONS:

(a) Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing
such claims;

(b) Payments made to any creditor shall be based upon the amount set forth in the creditor’ s

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proof of claim or other amount as may be allowed by a specific Order of the Banl<ruptcy Court.

(c) Property of the estate (check one)’Ic

1. shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of
this case, unless the Court orders othei'wise; or

2. X shall vest in the Debtor upon confirmation of the Plan.

*lf the chtor fails to check (a) or (E)) above, or if the Debtor checks both (a) and (l)), property
of the estate shall not vest in the Debtor until the earlier of the Debtor’s discharge or dismissal

of this case, unless the Court orders otherwise

3. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and
belief lite Trustee shall only make payment to creditors with filed and allowed
proof of claims An allowed proof of claim will be controlling, unless the Court
orders otherwise

4. Case Specifrc Provisions: None

 

 

 

 

 

 

  

 

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